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lN THE UN|TED STATES DlSTRlCT COURT l`illr.€l') l`:"l'_` h \_ ___,-Ml \.\_l`l.C.
FOR THE WESTERN DlSTR|CT OF TENNESSEE 4__
WESTERN DlVlSlON 833 F‘€iri."§' 31 PP=‘i 35 l Ll
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P|aintiff

VS.
CR. NO. 03-20465-D

PATR|CK MACKLIN

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |V|ay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav. Ju|v 21. 2005, at 9:00 a.m., in Courtroom 3. 9th Floor of the
Federa| Bui|ding, Memphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T lS SO ORDERED this § / day of l\/lay, 2005.

§RNICE el/ooNAl_o’

UN|TED STATES D|STR]CT JUDGE

 

This document entered on the docket sheet in com iiance g 7
With Fiule 55 and/or 32(b) FFiCrP on _ Q '[ Lz;(_ t

   

UNITED sATE DISTRICT COURT - WTER DISTRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:03-CR-20465 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

